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               In the United States District Court for the
                         District of Minnesota


MAYO CLINIC, a
Minnesota Corporation, on
its own behalf and as                    No. 16-CV-3113-ECT-ECW
successor in interest to Mayo
Foundation,

        Plaintiff,

   v.

UNITED STATES OF AMERICA,

        Defendant.



                     United States’ Notice of Appeal
        Notice is hereby given that the United States of

  America, the defendant in the above-captioned action,

  hereby appeals to the U.S. Court of Appeals for the Eighth

  Circuit from (i) the final judgment entered in this action on
  December 9, 2022 (D. 332), as amended on March 24, 2023

  (D. 358), and (ii) the Findings of Fact and Conclusions of

  Law entered in this action on November 22, 2022 (D. 331).
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 Date: May 18, 2023       DAVID A. HUBBERT
                          Deputy Assistant Attorney General
                          Tax Division


                          /s/ Gregory E. Van Hoey
                          GREGORY E. VAN HOEY
                          MD No. 0312170330
                          Trial Attorney, Tax Division
                          U.S. Department of Justice
                          Post Office Box 7238
                          Ben Franklin Station
                          Washington, D.C. 20044
                          Telephone: (202) 307-6391
                          Facsimile: (202) 514-6770
                          gregory.van.hoey@usdoj.gov




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